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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                          CASE NO.: 22-80285-CIV-CANNON

  TARA DUNCAN,

          Plaintiff,

  v.

  NCS PEARSON, INC.,
  JOHN DOE CORPORATION, an unnamed
  corporate entity, and JOHN DOE, an
  unnamed individual in his official and
  individual capacity,

        Defendants.
  _____________________________________/

        REPORT AND RECOMMENDATION ON DEFENDANT’S MOTION TO
       DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT (ECF NO. 27)

          Defendant NCS Pearson, Inc. (“Pearson”) moves for dismissal of the Second

  Amended Complaint (“SAC”) as a shotgun pleading and for failure to state a claim

  upon which relief can be granted (the “Motion”). ECF No. 27. The Motion was referred

  to me by the Hon. Aileen M. Cannon. ECF No. 30. I have reviewed the SAC

  (ECF No. 24), the Motion (ECF No. 27), the Response in Opposition to the Motion

  from Plaintiff Tara Duncan (“Ms. Duncan”) (ECF No. 28), and Pearson’s Reply

  (ECF No. 29). For the reasons stated herein, it is RECOMMENDED that the Motion

  be GRANTED without prejudice and with leave to file a Third Amended Complaint.

           PROCEDURAL BACKGROUND AND PARTIES’ ARGUMENTS

          Ms. Duncan filed her initial two count complaint in the Fifteenth Judicial

  Circuit Court, in and for Palm Beach County, Florida, on November 22, 2021, alleging
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  intentional infliction of emotional distress (“IIED”) and respondeat superior.

  ECF No. 1-1 at 4-11. On February 18, 2022, Ms. Duncan filed her First Amended

  Complaint in state court alleging the same two causes of action. Id. at 16-23. Pearson

  filed a Notice of Removal on February 23, 2022. ECF No. 1. After obtaining leave to

  file an amended complaint, Ms. Duncan filed her SAC on May 3, 2022. ECF No. 24.

  The SAC alleges one count of IIED (Count I), one count of Negligent Infliction of

  Emotional Distress (Count II), one count of Negligence (Count III), one count of

  Invasion of Privacy (Count IV), and one count of Respondeat Superior (Count V). Ms.

  Duncan’s claims center on the allegation that a remote proctor told her she would fail

  an NBCC National Counselor Examination if she went to the restroom during the

  exam and did not take her computer, with the camera and microphone on, with her. 1

  ¶ 20-21. 2

        Pearson moved to dismiss the SAC as a shotgun pleading that fails to meet

  federal pleading standards under Federal Rules of Civil Procedure 8 and 10 and for

  failing to state a cause of action under Rule 12(b)(6). ECF No. 27 at 17. Pearson

  argues the SAC is a shotgun pleading because it fails to “separate each cause of action




  1 In reference to the same event, the SAC initially refers to an “NCBB remote
  examination” (¶ 12) and subsequently to an “NBCC National Counselor
  Examination” (¶ 15). The Court’s independent research suggests the applicable exam
  is the National Board for Certified Counselors (NBCC) National Counselor
  Examination. See National Counselor Examination, NBCC.ORG, https://www.nbcc.org/
  exams/nce (last visited Sept. 9, 2022).
  2Unless otherwise noted, all paragraph numbers correspond to the paragraphs in the
  SAC.
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  or claim for relief into different counts” and asserts “multiple claims against multiple

  defendants without specifying which claim(s) apply to which Defendant(s).” Id. at 4-9

  (citing Weiland v. Palm Beach Cnty. Sheriff's Off., 792 F.3d 1313, 1321-23 (11th Cir.

  2015).

           In addition, Pearson argues that Counts I-III and V of the SAC should be

  dismissed for failure to state a claim because the count either fails to support its legal

  conclusions with factual allegations or fails to allege any facts in support of the claim.

  ECF No. 27 at 9-16. Pearson next argues Count IV of the SAC should be dismissed

  for failure to state a claim because (1) the SAC fails to identify the type of invasion of

  privacy alleged, (2) Ms. Duncan waived any right to privacy, (3) Ms. Duncan

  consented to taking the exam with a virtual proctor, and 4) the SAC does not and

  cannot allege the requisite intent for an invasion of privacy claim against Pearson.

  Id. at 15-16. Finally, Pearson argues Ms. Duncan’s demand for attorney’s fees and

  costs must be stricken because there is no statute or contract in place providing for

  such an award. Id. at 16-17.

           Ms. Duncan counters that the SAC contains the requisite specificity to allow

  Pearson to respond to the claims against it but does not object to amending the SAC

  to specify the party or parties being sued in each count. ECF No. 28 at 3. Ms. Duncan

  argues that Pearson does not have standing to challenge Counts I-IV of the SAC

  because only Count V is directed at Pearson. Id. Ms. Duncan further argues that she

  has pled sufficient facts to support her causes of action and cites portions of the SAC



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  she claims constitute such facts. Id. at 4-8. Finally, Ms. Duncan contends that she is

  entitled to attorney’s fees and costs pursuant to the “wrongful act doctrine.” Id. at 8-9.


                                  LEGAL STANDARDS


        1. Rule 8 and Shotgun Pleadings

        A pleading in a civil action must contain “a short and plain statement of the

  claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To satisfy

  the Rule 8 pleading requirements, a claim must provide the defendant fair notice of

  plaintiff’s claim and the grounds upon which it rests. See Swierkiewicz v. Sorema

  N.A., 534 U.S. 506, 512 (2002). While a claim “does not need detailed factual

  allegations,” it must provide “more than labels and conclusions” or “a formulaic

  recitation of the elements of a cause of action.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that the

  Rule 8(a)(2) pleading standard “demands more than an unadorned, the defendant-

  unlawfully-harmed-me accusation”). Nor can a claim rest on “‘naked assertion[s]’

  devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

  550 U.S. at 557 (alteration in original)).

        In addition to the Rule 8 pleading requirements, Federal Rule of Civil

  Procedure 10(b) states in pertinent part, “If doing so would promote clarity, each

  claim founded on a separate transaction or occurrence – and each defense other than

  a denial – must be stated in a separate count or defense.” “Complaints that violate

  either Rule 8(a)(2) or Rule 10(b), or both, are often disparagingly referred to as

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  ‘shotgun pleadings.’” Weiland, 792 F.3d at 1320. “When a plaintiff files a shotgun

  complaint, a district court is required to sua sponte order repleading pursuant to

  Federal Rule of Civil Procedure 12(e).” McFee v. Carnival Corp., No. 19-22917-CIV,

  2019 WL 13189061, at *5 (S.D. Fla. Sept. 16, 2019) (J. Lenard) (emphasis in original).

        In Weiland, the Court of Appeals noted “four rough types of categories of

  shotgun pleadings.” 792 F.3d at 1321. As relevant here, the categories included

  1) “the sin of not separating into a different count each cause of action or claim for

  relief” and 2) “the relatively rare sin of asserting multiple claims against multiple

  defendants without specifying which of the defendants are responsible for which acts

  or omissions, or which of the defendants the claim is brought against.” Id. at 1323.

  The common theme among all shotgun pleadings “is that they fail to one degree or

  another, and in one way or another, to give the defendants adequate notice of the

  claims against them and the grounds upon which each claim rests.” Id.


        2. Rule 12(b)(6)


        On a motion to dismiss under Rule 12(b)(6), the Court must view the well-pled

  factual allegations in a claim in the light most favorable to the non-moving party.

  Dusek v. JPMorgan Chase & Co., 832 F.3d 1243, 1246 (11th Cir. 2016). Viewed in

  that manner, the factual allegations must be enough to raise a right to relief above

  the speculative level, on the assumption that all the allegations in the claim are true

  (even if doubtful in fact). Twombly, 550 U.S. at 555 (citations omitted). The Supreme

  Court has emphasized that “[t]o survive a motion to dismiss a complaint must contain

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  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

  on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570).


        When evaluating a motion to dismiss under Rule 12(b)(6):

        [A] court considering a motion to dismiss can choose to begin by
        identifying pleadings that, because they are no more than conclusions,
        are not entitled to the assumption of truth. While legal conclusions can
        provide the framework of a complaint, they must be supported by factual
        allegations. When there are well-pleaded factual allegations, a court
        should assume their veracity and then determine whether they
        plausibly give rise to an entitlement to relief.

  Iqbal, 556 U.S. at 679. The scope of the court's review on a motion to dismiss is limited

  to the four corners of the complaint and the documents attached to the complaint or

  directly referred to in the complaint. Jordan v. Miami-Dade Cty., 439 F. Supp. 2d

  1237, 1240 (S.D. Fla. 2006) (J. King).


                                      DISCUSSION

        Having reviewed the SAC, I find that it is insufficient to meet the pleading

  requirements of Rules 8 and 10. The SAC asserts multiple claims against multiple

  defendants without specifying which of the defendants are responsible for which acts

  or which of the defendants is the target of the particular claim. The individual counts

  do not identify the applicable defendant in the header, “wherefore” clause, or

  otherwise. Instead, the SAC has a single clause praying for relief collectively “against

  Defendants.” ECF No. 24 at 13. Additionally, every count of the SAC references all

  Defendants, either directly or by incorporation, making it unclear which of the

  defendants is alleged to be liable for the particular count. For example, Counts I-IV

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  incorporate allegations that the Court has jurisdiction over Defendants Pearson and

  John Doe Corporation while simultaneously alleging only harm caused by John Doe. 3

  ECF No. 24 at 4, 6-10.

           The SAC does not provide the Defendants with adequate notice of the claims

  brought against them. Pearson’s Motion on all counts of the SAC shows that Pearson

  had difficulty knowing what it is alleged to have done (or not done) and why it is

  allegedly liable for doing (or not doing) it. Ms. Duncan clarifies in her Response that

  only Count V is brought against Pearson, however that conclusion is not clearly set

  forth in the SAC. ECF No. 28 at 3-4. Additionally, it is impossible to determine which

  of the remaining counts are alleged against John Doe Corporation and John Doe. 4

           Because the SAC does not give the Defendants adequate notice of the claims

  against them and the grounds upon which each claim rests, the SAC is subject to

  dismissal as a shotgun pleading. See Embree v. Wyndham Worldwide Corp., 779 F.

  App’x 658, 664 (11th Cir. 2019) (dismissing plaintiff’s second amended complaint

  where “it [was] completely unclear which of the factual allegations set forth in the. . .

  complaint pertain[ed] to which of Plaintiff's claims or to which Defendant”).




  3   The SAC is devoid of jurisdictional allegations with respect to John Doe.
  4 Although not raised by the parties, the Court notes that the Eleventh Circuit
  disfavors fictitious-party pleading. See Richardson v. Johnson, 598 F.3d 734, 738
  (11th Cir. 2010) (“As a general matter, fictitious-party pleading is not permitted in
  federal court.”); See also Fed. R. Civ. P. 10(a) (“The title of the complaint must name
  all the parties.”).
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        Count V of the SAC is also independently subject to dismissal as a shotgun

  pleading because it “commits the sin of not separating into a different count each

  cause of action or claim for relief.” McFee, 2019 WL 13189061, at *4 (collecting cases).

  Count V of the SAC lists six ways Pearson allegedly breached a duty to Ms. Duncan

  under a theory of respondeat superior. ¶ 61. Ms. Duncan’s separate theories of

  liability must be pled separately. McFee, 2019 WL 13189061, at *4.

        For these reasons, the SAC must be dismissed. I recommend that Ms. Duncan

  be given one final opportunity to properly plead her claims. See Nichols v. Carnival

  Corp., 423 F. Supp. 3d 1316, 1325 (S.D. Fla. 2019) (J. Ungaro) (“When a litigant,

  represented by counsel, files a shotgun pleading, a district court must give her one

  chance to replead before dismissing her case with prejudice on non-merits shotgun

  pleading grounds. After that one ‘opportunity to replead comes and goes,’ the district

  court can dismiss with prejudice if the party has still neither filed a compliant

  pleading nor asked for leave to amend.”) (quoting Vibe Micro, Inc. v. Shabanets, 878

  F.3d 1291, 1296 (11th Cir. 2018)). Each count of any Third Amended Complaint

  should specify which claims are against each Defendant and the grounds upon which

  each claim rests and should ensure that separate causes of action are separated into

  different counts.

        Because the SAC should be dismissed as a shotgun pleading, I need not reach

  the parties alternative arguments for dismissal. See Curfman v. Ocwen Fin.

  Servicing, LLC, No. 19-80408-CV, 2019 WL 13089701, at *2 (S.D. Fla. Sept. 10, 2019)

  (J. Middlebrooks). In light of Ms. Duncan’s opportunity to amend, I likewise need not
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  decide whether Ms. Duncan’s demand for attorney’s fees and costs should be stricken

  due to her failure to allege the basis for her request. See Joyce v. McCord, No. 08-

  80749-CIV, 2009 WL 10667026, at *1 (S.D. Fla. May 14, 2009) (J. Ryskamp) (striking

  a request for attorney’s fees and costs brought pursuant to the wrongful act doctrine

  due to plaintiff’s failure to specifically plead special damages and allege the basis for

  its request for fees and costs). When filing a Third Amended Complaint, Ms. Duncan

  should keep in mind what must be alleged to state a plausible claim, including the

  requisite specificity of her allegations.


                                  RECOMMENDATION

         WHEREFORE, the undersigned RECOMMENDS that Defendant NCS

  Pearson, Inc.’s Motion to Dismiss Plaintiff’s Second Amended Complaint

  (ECF No. 27) be GRANTED WITHOUT PREJUDICE and with leave to file a Third

  Amended Complaint.




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                           NOTICE OF RIGHT TO OBJECT


         A party shall serve and file written objections, if any, to this Report and

   Recommendation with the Honorable Aileen M. Cannon, United States District Court

   Judge for the Southern District of Florida, within FOURTEEN (14) DAYS of being

   served with a copy of this Report and Recommendation. Failure to timely file

   objections shall constitute a waiver of a party's "right to challenge on appeal the

   district court’s order based on unobjected-to factual and legal conclusions." 11th Cir.

   R. 3-1 (2016).


         IF A PARTY DOES NOT INTEND TO OBJECT TO THIS REPORT AND

   RECOMMENDATION, THEY SHALL FILE A NOTICE TO THAT EFFECT

   WITHIN FIVE (5) DAYS.

         DONE AND SUBMITTED in Chambers at West Palm Beach in the Southern

   District of Florida, this 12th day of September, 2022.




                                           _______________________________
                                           BRUCE E. REINHART
                                           United States Magistrate Judge




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